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VIA ECF

The Honorable Victor Marrero
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Judge Marrero,

I write on behalf of Robert Seiden (the “Receiver”) in his capacity as the temporary receiver of
Link Motion, Inc. (“LKM”).

On March 25, 2022, the Court extended the Order to Show Cause (“OSC”) enjoining shareholder
meetings of LKM for ten days and directed the parties to “discuss and endeavor to negotiate a
standstill agreement to halt any shareholder meetings until the Court issues a ruling on any
objections to Magistrate Judge Freeman's Report & Recommendation (Dkt. No. 275).” (Dkt. 292).
The Receiver took no position (Dkt 285) with respect to defendant Shi’s application which led to
the OSC and takes no position with respect to the competing proposals for a standstill agreement
that have been submitted to the Court by the parties (Dkt 295, 296). Subject to the Court’s
direction, however, the Receiver understands that the OSC (and Judge Freeman’s Report &
Recommendation) do not revoke the Receiver’s authority to take actions unrelated to LKM
shareholder meetings that (in the Receiver’s judgment) are in the best interests of LKM and are
necessary to preserve the status quo. 1


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  On February 9, 2022, the Receiver notified the Court that in March 2020, Tongfang Investment Fund Series SPC
(“Tongfang”) obtained an approximately $400 million final award (the “Award”) against LKM in a Hong Kong
arbitration that was previously not disclosed to the Receiver (Dkt 269). The Receiver also informed the Court that
Defendant Shi had (in violation of this Court’s preliminary injunction and receivership order) secretly maintained
control of the arbitration and declined to defend against Tongfang’s claims, which led to the Award being issued
unopposed. See id. The Receiver did not receive a copy of the Award until February 4, 2022. The Receiver
understands that there may be grounds for initiating a proceeding in the Hong Kong courts to set aside the Award on
the basis that Shi lacked authority to represent LKM in the arbitration and/or that the Award is the product of fraud.
However, under applicable Hong Kong law, an application for setting aside must be made within three months after
the party making the application receives the award. To the extent the three month period arguably began to run on
February 4, 2022 (the date on which the Receiver first received a copy of the Award, as opposed to when Defendant
Shi may have received such a copy), a set aside proceeding would need to be filed by May 4, 2022. Although the
Receiver has made no determination regarding whether to file such a proceeding, the Receiver understands that the
OSC (and Judge Freeman’s Report & Recommendation) do not prevent the Receiver from doing so in order to
The Receiver awaits further guidance from the Court as appropriate.


                                                      Respectfully Submitted,



                                                      /s/ Amiad Kushner
                                                      Amiad Kushner

                                                      Counsel for Robert Seiden,
                                                      Court-Appointed Temporary Receiver for
                                                      Link Motion Inc.




preserve the status quo (and thereby permit LKM to preserve its rights with respect to the Award, regardless of if and
when the Court terminates the receivership).

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